        Case 2:19-bk-14989-WB Doc 627 Filed 02/21/20 Entered 02/21/20 21:30:51                                                 Desc
                            Imaged Certificate of Notice Page 1 of 4
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 19-14989-WB
Scoobeez                                                                                                   Chapter 11
              Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-2                  User: admin                        Page 1 of 2                          Date Rcvd: Feb 19, 2020
                                      Form ID: pdf042                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 21, 2020.
db             +Scoobeez,   3463 Foothill Blvd.,   Glendale, CA 91214-1856

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 21, 2020                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 19, 2020 at the address(es) listed below:
              Akop J Nalbandyan    on behalf of Creditor Roy Anthony Catellanos jnalbandyan@LNtriallawyers.com,
               cbautista@LNtriallawyers.com
              Akop J Nalbandyan    on behalf of Interested Party    INTERESTED PARTY
               jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
              Anthony J Napolitano    on behalf of Creditor    Hillair Capital Management LLC
               anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
              Aram Ordubegian     on behalf of Interested Party    Courtesy NEF ordubegian.aram@arentfox.com
              Ashley M McDow    on behalf of Plaintiff    Scoobeez, Inc. amcdow@foley.com,
               sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
              Ashley M McDow    on behalf of Debtor    Scoobur LLC amcdow@foley.com,
               sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
              Ashley M McDow    on behalf of Debtor    Scoobeez amcdow@foley.com,
               sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
              Ashley M McDow    on behalf of Debtor    Scoobeez Global, Inc. amcdow@foley.com,
               sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
              Bradley E Brook    on behalf of Creditor Ardis Stephens bbrook@bbrooklaw.com,
               paulo@bbrooklaw.com;brookecfmail@gmail.com
              Bret D Lewis    on behalf of Creditor    Aroussiak and Garo Dekirmendijian as Trustees of the
               2/22/02 Derkirmendjian Family Trust Bretlewis@aol.com, bdlawyager@gmail.com
              Dare Law     on behalf of U.S. Trustee    United States Trustee (LA) dare.law@usdoj.gov
              Daren M Schlecter    on behalf of Creditor Sandra Collie daren@schlecterlaw.com,
               assistant@schlecterlaw.com
              David L. Neale    on behalf of Interested Party    Levene, Neale, Bender, Yoo & Brill L.L.P.
               dln@lnbyb.com
              David L. Neale    on behalf of Creditor Committee    Official Committee of Unsecured Creditors
               dln@lnbyb.com
              David L. Neale    on behalf of Attorney    Official Committee Of Unsecured Creditors dln@lnbyb.com
              Eric D Winston    on behalf of Creditor    Hillair Capital Management LLC
               ericwinston@quinnemanuel.com
              Eric D Winston    on behalf of Creditor    Hillair Capital Management, LLC
               ericwinston@quinnemanuel.com
              Eric K Yaeckel    on behalf of Creditor Arturo Vega yaeckel@sullivanlawgroupapc.com
              Gregory M Salvato    on behalf of Interested Party    INTERESTED PARTY
               gsalvato@salvatolawoffices.com,
               calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
              Gregory M Salvato    on behalf of Creditor Azad Baban gsalvato@salvatolawoffices.com,
               calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
              Hamid R Rafatjoo    on behalf of Creditor Shahan Ohanessian hrafatjoo@raineslaw.com,
               bclark@raineslaw.com;cwilliams@raineslaw.com
              Jeffrey S Shinbrot    on behalf of Creditor Shahan Ohanessian jeffrey@shinbrotfirm.com,
               sandra@shinbrotfirm.com
      Case 2:19-bk-14989-WB Doc 627 Filed 02/21/20 Entered 02/21/20 21:30:51                        Desc
                          Imaged Certificate of Notice Page 2 of 4


District/off: 0973-2          User: admin                 Page 2 of 2                  Date Rcvd: Feb 19, 2020
                              Form ID: pdf042             Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jennifer L Nassiri    on behalf of Creditor    Hillair Capital Management, LLC
               jennifernassiri@quinnemanuel.com
              Jennifer L Nassiri    on behalf of Creditor    Hillair Capital Management LLC
               jennifernassiri@quinnemanuel.com
              John-Patrick M Fritz    on behalf of Interested Party    Levene, Neale, Bender, Yoo & Brill L.L.P.
               jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              John-Patrick M Fritz    on behalf of Plaintiff    Official Committee of Unsecured Creditors of the
               Estates of Scoobeez and Scoobeez Global, Inc. jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              John-Patrick M Fritz    on behalf of Creditor Committee    Official Committee of Unsecured
               Creditors jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              John-Patrick M Fritz    on behalf of Attorney    Official Committee Of Unsecured Creditors
               jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              Kevin H Morse    on behalf of Creditor    Avitus Group, Inc. kmorse@clarkhill.com,
               blambert@clarkhill.com
              Kimberly Walsh     on behalf of Creditor    Texas Comptroller of Public Accounts
               bk-kwalsh@texasattorneygeneral.gov
              Michael Jay Berger    on behalf of Interested Party Sean McNair
               michael.berger@bankruptcypower.com,
               yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
              Rejoy Nalkara     on behalf of Creditor    BMW Financial Services NA, LLC, c/o AIS Portfolio
               Services, LP rejoy.nalkara@americaninfosource.com
              Richard T Baum    on behalf of Stockholder    Rosenthal Family Trust rickbaum@hotmail.com,
               rickbaum@ecf.inforuptcy.com
              Richard W Esterkin    on behalf of Creditor    Amazon Logistics, Inc.
               richard.esterkin@morganlewis.com
              Richard W Esterkin    on behalf of Defendant    Amazon Logistics, Inc.
               richard.esterkin@morganlewis.com
              Riebert Sterling Henderson    on behalf of Interested Party    Courtesy NEF
               shenderson@gibbsgiden.com
              Sean A OKeefe    on behalf of Plaintiff    Scoobeez, Inc. sokeefe@okeefelc.com, seanaokeefe@msn.com
              Sean A OKeefe    on behalf of Plaintiff    Scoobeez Global, Inc. sokeefe@okeefelc.com,
               seanaokeefe@msn.com
              Sean A OKeefe    on behalf of Debtor    Scoobeez sokeefe@okeefelc.com, seanaokeefe@msn.com
              Shane J Moses    on behalf of Plaintiff    Scoobeez, Inc. smoses@foley.com, vgoldsmith@foley.com
              Shane J Moses    on behalf of Debtor    Scoobeez smoses@foley.com, vgoldsmith@foley.com
              Stacey A Miller    on behalf of Creditor    Porsche Financial Services, Inc. dba Bentley Financial
               Services smiller@tharpe-howell.com
              Stacey A Miller    on behalf of Creditor    Porsche Financial Services, Inc.
               smiller@tharpe-howell.com
              Stacey A Miller    on behalf of Creditor    Porsche Leasing Ltd. smiller@tharpe-howell.com
              Steven M Spector    on behalf of Creditor    Hillair Capital Management LLC sspector@buchalter.com,
               IFS_efiling@buchalter.com;salarcon@buchalter.com
              United States Trustee (LA)    ustpregion16.la.ecf@usdoj.gov
              Vivian Ho     on behalf of Creditor    FRANCHISE TAX BOARD BKClaimConfirmation@ftb.ca.gov
                                                                                               TOTAL: 47
Case 2:19-bk-14989-WB Doc 627 Filed 02/21/20 Entered 02/21/20 21:30:51                                            Desc
                    Imaged Certificate of Notice Page 3 of 4


     1 John B. Quinn (Bar No. 90378)
       johnquinn@quinnemanuel.com
     2 Crystal Nix-Hines (Bar No. 2482073)
       crystalnixhines@quinnemanuel.com                                                FILED & ENTERED
     3 Eric Winston (Bar No. 202407)
       ericwinston@quinnemanuel.com
     4 Jennifer L. Nassiri (Bar No. 209796)                                                  FEB 19 2020
       jennifernassiri@quinnemanuel.com
     5 QUINN EMANUEL URQUHART & SULLIVAN, LLP                                           CLERK U.S. BANKRUPTCY COURT
       865 S. Figueroa St., 10th Floor                                                  Central District of California
                                                                                        BY penning DEPUTY CLERK
     6 Los Angeles, CA 90017
       Telephone: (213) 443-3000
     7 Facsimile: (213) 443-3100
                                                                               CHANGES MADE BY COURT
     8 Attorneys for Secured Creditor,
       HILLAIR CAPITAL MANAGEMENT, LLC
     9
                               UNITED STATES BANKRUPTCY COURT
    10
                                CENTRAL DISTRICT OF CALIFORNIA
    11                                 LOS ANGELES DIVISION
    12
    13
         In re                                                         CASE NO. 2:19-bk-14989-WB
    14                                                                 Jointly Administered:
         SCOOBEEZ, et al.1                                             2:19-bk-14991-WB; 2:19-bk-14997-WB
    15
                   Debtors and Debtors in Possession.                  Chapter 11
    16
                                                                       [PROPOSED] ORDER GRANTING
    17 Affects:                                                        EMERGENCY MOTION PURSUANT TO
    18         All Debtors                                            LOCAL RULE 9075-1 TO FILE
                                                                       DOCUMENTS UNDER SEAL
    19             Scoobeez, ONLY

    20             Scoobeez Global, Inc., ONLY

    21             Scoobur, LLC, ONLY

    22

    23
    24
    25
    26
              1
                  The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
    27 6FRREHH]   6FRREHH] *OREDO ,QF   DQG 6FRREXU //&   7KH 'HEWRUV¶ DGGUHVV LV  )RRWKLOO
         Boulevard, Glendale, California 91214.
    28

                                                                                 Case No. 2:19-by-14989-WB
                                         [PROPOSED] ORDER GRANTING EMERGENCY MOTION TO FILE UNDER SEAL
Case 2:19-bk-14989-WB Doc 627 Filed 02/21/20 Entered 02/21/20 21:30:51                            Desc
                    Imaged Certificate of Notice Page 4 of 4


     1                                         [PROPOSED] ORDER

     2         The Court, having considered +LOODLU &DSLWDO 0DQDJHPHQW //&¶V ³Hillair´  Emergency

     3 Motion Pursuant to Local Rule 9075-1 to File Documents Under Seal WKH³Emergency Motion´ ,

     4 all the pleadings in the above-captioned case, and good cause appearing, hereby orders that:

     5         1.      The Emergency Motion is granted.

     6         2.      No later than February 19, 2020, Hillair or its representative must present for filing

     7                 under seal:

     8                 a.        An unredacted copy of the Supplemental Opposition (as defined in the

     9                           Emergency Motion), and accompanying exhibits;

    10                 b.        An unredacted copy of the Declaration of Jennifer Nassiri; and

    11                 c.        A copy of this entered order to the filing window on the ninth floor of the

    12                           United States Bankruptcy Court, located at 255 East Temple Street, Los

    13                           Angeles, California 90012. The documents to be filed under seal must be

    14                           presented at the filing window in a sealed envelope with an attached caption
    15                           page setting forth the case information and describing the contents thereof.

    16         3.      Hillair may file under seal an unredacted copy of its Supplemental Opposition, the
    17                 accompanying Declaration, and any accompanying exhibits.
    18         4.      Hillair may publicly file a redacted copy of its Supplemental Opposition, the
    19                 accompanying Declaration, and any accompanying exhibits, provided that such
    20                 redactions must be made only to the extent those briefs otherwise would divulge
    21                 Protected Material (as defined in the Emergency Motion).
    22         IT IS SO ORDERED.

    23
    24 Date: February 19, 2020
    25
    26
    27

    28

                                                       -1-                  Case No. 2:19-by-14989-WB
                                    [PROPOSED] ORDER GRANTING EMERGENCY MOTION TO FILE UNDER SEAL
